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                             UNITED STATES DISTRICT COURT


                                DISTRICT OF SOUTH DAKOTA


                                      CENTRAL DIVISION



 UNITED STATES OF AMERICA,                                         3:23-CR-30107-RAL


                        Plaintiff,

                                                                      SENTENCING
         vs.                                                     SCHEDULING ORDER


 TANNER JAMES BARRON,

                        Defendant.




        Defendant Tanner James Barren appeared before Magistrate Judge Mark Moreno for a

change ofplea hearing on February 29,2024. Judge Moreno issued a Report and Recommendation

recommending that the Court accept Defendant's conditional plea of guilty to Counts II & III as

alleged in the Indictment. For good cause, it is hereby

        ORDERED that this Court adopts the Report and Recommendation, Doe. 35, the plea of

guilty is accepted, and Defendant is adjudged guilty of Counts II & III as alleged in the Indictment.

It is further


        ORDERED that the draft presentence report shall be filed by the Probation Office in

CM/ECF using the Draft Presentence Report event by April 16,2024. It is further

        ORDERED that any objection to the presentence report and notice of intent to seek a

departure by either the Government or the Defendant shall be filed by counsel in CM/ECF using

the Objections to Presentence Report event by April 30,2024. If counsel has no objections to the
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 presentence report, counsel should indicate such by using the Notice of No Objections to

Presentence Report event. It is further

        ORDERED that all letters ofsupport shall be filed by counsel in CM/ECF using the Sealed

Letter(s) of Support event by May 14,2024. All letters of support shall be legibly scanned as one

document and not scanned as separate documents. It is further

        ORDERED that the final presentence report shall be filed by the Probation Office in

CM/ECF using the Final Presentence Report event by May 14,2024. An addendum setting forth

any unresolved objections, the grounds for those objections, and the probation officer's comments

on those objections shall also be filed in CM/ECF using the Addendum to Final Presentence Report

event. It is further


        ORDERED that any Sentencing Memorandum and Motion for Departure or Variance shall

be filed in CM/ECF by May 21,2024. It is further

       ORDERED that the sentencing hearing and any necessary evidentiary hearing regarding

sentencing shall be held on Tuesday, May 28, 2024, at 10:00, in the Courtroom of the U.S.

Courthouse in Pierre, South Dakota.

       DATED this 1st day of March,2024.

                                            BY THE COURT:




                                            ROBERTO A. LANGE
                                            CHIEF JUDGE
